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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

     In re:                                                        Chapter 7

     ARMSTRONG FLOORING, INC., et al., 1                           Case No. 22-10426 (MFW)

                                 Debtors.



                                            CERTIFICATE OF SERVICE


                      I, Peter J. Keane, hereby certify that on the 14th day of November, 2023, I caused

    a copy of the following document(s) to be served on the individual(s) on the attached service

    list(s) in the manner indicated:

                      First Interim Application for Compensation and Reimbursement of Expenses
                      of Pachulski Stang Ziehl & Jones LLP, as Counsel to the Chapter 7 Trustee,
                      for the Period from April 17, 2023 through September 30, 2023 [dkt 1488].


                                                            /s/ Peter J. Keane
                                                            Peter J. Keane (DE Bar No. 5503)




1
     The Debtors in these chapter 7 cases, along with the last four digits of their respective tax identification numbers, are
     as follows: Armstrong Flooring, Inc. (3305); AFI Licensing LLC (3265); Armstrong Flooring Latin America, Inc.
     (2943); and Armstrong Flooring Canada Ltd. (N/A). The address of the Debtors’ corporate headquarters is PO Box
     10068, 1770 Hempstead Road, Lancaster, PA 17605.


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